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                                                                      1   COHEN|JOHNSON|PARKER|EDWARDS
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                                                                      6
                                                                          Attorneys for Debtor
                                                                      7
                                                                                                     UNITED STATES BANKRUPTCY COURT
                                                                      8
                                                                                                              DISTRICT OF NEVADA
                                                                      9
                                                                           In re:                                            Case No.: 18-12320-leb
                                                                     10
                                                                                                                             Chapter 11
                                                                     11    THE SPRINGS BUILDING, LLC,
COHEN|JOHNSON|PARKER|EDWARDS




                                                                                                                             Hearing Date: 6/12/2018
                                                                     12                    Debtor.                           Hearing Time: 9:30 a.m.
                                                                     13
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                                                                               REPLY IN SUPPORT OF APPLICATION BY DEBTORS AND DEBTORS-IN-
                                     Las Vegas, Nevada 89119




                                                                     14
                                                                              POSSESSION FOR AUTHORIZATION TO RETAIN AND EMPLOY COUNSEL
                                                                     15                         UNDER GENERAL RETAINER

                                                                     16             THE VILLAGES, LLC ("Debtors") hereby submit this Reply in Support of their
                                                                     17   previously filed application to retain and employ Cohen Johnson Parker Edwards as counsel
                                                                     18
                                                                          under general retainer. While Western Alliance Bank (“Western”) has opposed the Application
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                                                                          there is no substance to the claims made in their Objection. Western presumes that a failed
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                                                                          business transaction involving the Firm for the sale of 319 E. Warm Springs Road, Las Vegas,
                                                                     21

                                                                     22   NV 89119, has any lingering or ongoing affect, which would make the firm a “materially

                                                                     23   adverse party.” As conceded by Western, Cohen-Johnson, LLC, in February 2018, provided

                                                                     24   through the Debtor’s representative, Ronald Robinson, trustee for The Scotsman Trust, the
                                                                     25   $100,000 which was provided as earnest money for a transaction wherein Western would accept
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                                                                      1   $4,000,000 as full satisfaction of the A/B notes.1 Western does not explain how this was

                                                                      2   “complicit” behavior that would disqualify the Firm from representation. And the reason they do
                                                                      3
                                                                          not explain it is because they can not. The mere fact that Western disaproves of the Firm being
                                                                      4
                                                                          a one time potential buyer in an void and termination purchase agreemnt is not grounds for
                                                                      5
                                                                          disqualification.
                                                                      6
                                                                                                                             I.
                                                                      7

                                                                      8                              SUPPLEMENTAL LEGAL ARGUMENT

                                                                      9   A.      The Failed Sale Involving the Firm Is Not a Basis to Prove Disinterestedness and the
                                                                                  Application Should Be Granted.
                                                                     10

                                                                     11           Western’s assertion that the Firm is not disinterested is error since there is no adverse
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                                                                     12   position to the bankruptcy estate or to the actual Debtor. An expired and terminated sales

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                                                                          agreement does not create an adverse position, it creates no position. The Bankruptcy Code
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                                                                     14   requires the same decree of disinterestedness on part of an attorney employed by the debtor that
                                                                     15
                                                                          would be required as if a trustee were appointed under 11 U.S.C. § 1104. In re Sauer (1995, BC
                                                                     16
                                                                          DC Neb) 191 BR 402. A close comparison between language used in 11 U.S.C.S. § 327 and
                                                                     17
                                                                          language used in 11 U.S.C.S. § 101(14) indicates that there is distinction between interests that
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                                                                     19   are adverse to "estate," which is not permissible, and interests that may be adverse in some sense

                                                                     20   to a class of creditors or equity security holders, but that are not "materially" adverse interests. In

                                                                     21   re Sonya D. Int'l, Inc. (2012, BC CD Cal) 484 BR 773; In re Marvel Entm't Group, Inc., 140
                                                                     22
                                                                          F.3d 463, 476 (3d Cir. 1998) HN7 ((1) section 327 imposes a per se disqualification of any
                                                                     23
                                                                          professional who has an actual conflict of interest; (2) the court may, within its discretion,
                                                                     24
                                                                          disqualify a professional who has a potential conflict of interest; and (3) the court may not
                                                                     25

                                                                     26   1
                                                                           Mr. Johnson disputes that the undertaking was for the purpose of “doing a favor” for Mr. Robinson.
                                                                          Objection, p. 6:9-10. The transaction was a legitimate offer to purchase which did not close because one
                                                                     27   partner of the group who was interested in buying the building dropped out and a replacement partner was
                                                                          not able to be found.
                                                                     28
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                                                                      1   disqualify a professional solely on the basis of an appearance of conflict). In re Sonya D. Int'l,

                                                                      2   Inc., 484 B.R. 773, 2012 Bankr. LEXIS 5763.2
                                                                      3
                                                                                  Applications to employ counsel have been granted in circumstances seemingly appearing
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                                                                          to have greater conflict than what Western attempts to paint. In In re Keravision, Inc., 273 B.R.
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                                                                          614, 615 (N.D. Cal. 2002), the Court addressed an appeal of an order granting the debtor's
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                                                                          application seeking to employ a law firm as its counsel where two of the partners owned a small
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                                                                      8   amount of the debtor's stock, one of the these two partners had served as the debtor's corporate

                                                                      9   secretary until approximately three weeks before the debtor initiated bankruptcy proceedings,
                                                                     10   and the same partner had served as outside general corporate counsel for the debtor. Id. at 615.
                                                                     11
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                                                                          Relying on the plain language of Sections 101(14) and 327(a) of the Bankruptcy Code, the Court
                                                                     12
                                                                          held that “a law firm is not per se disqualified from employment by a debtor solely because one
                                                                     13
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                                                                          of its partners was an officer of the debtor. Instead, a bankruptcy court must determine if the law
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                                                                     14

                                                                     15   firm is directly disqualified, for example, whether it has an interest adverse to the estate, is an

                                                                     16   insider, or functioned as an officer.” Id. at 619. This decision was subsequently affirmed. United

                                                                     17   States Trustee v. Keravision, Inc., 421 F.3d 1153, 1154 (9th Cir. 2005).
                                                                     18           Western allegations of the Firm not being disintrerested are not supported by any relevant
                                                                     19
                                                                          2
                                                                     20    Furthermore, a claimed lack of disclosure does not prevent the automatic disqualification of the
                                                                          Debtor’s right to employ the professional pursuant to 11 U.S.C. § 327.
                                                                     21
                                                                                  Of course, disclosure of facts suggesting a conflict is not invariably followed by
                                                                     22           disqualification. In special circumstances, for example, the bankruptcy court could
                                                                     23           determine, in the sound exercise of its discretion, that any potential impairment of its
                                                                                  institutional integrity, or risk of divided loyalty by counsel, was substantially outweighed
                                                                     24           by the benefits to be derived from counsel's continued representation of multiple entities
                                                                                  or the impracticability of disentangling multiple interests "without unreasonable delay
                                                                     25           and expense." In re Hoffman, 53 Bankr. 564, 566 (Bankr. W.D. Ark. 1985).
                                                                     26   Rome v. Braunstein, 19 F.3d 54, 59, 1994 U.S. App. LEXIS 5171, *12, 30 Collier Bankr. Cas. 2d
                                                                     27   (MB) 1346, 25 Bankr. Ct. Dec. 695, Bankr. L. Rep. (CCH) P75,773.

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                                                                      1   facts. Furthermore, the Firm was required to disclose all relevant connections. Fed. R. Bankr.P.

                                                                      2   2014; In re Costa Bonita Beach Resort Inc., 479 B.R. 14, 29 (Bankr. D.P.R. 2012). There are no
                                                                      3
                                                                          connections between the Firm and the debtor when the contract of sale is terminated and of no
                                                                      4
                                                                          effect long before the Firm is retained to represent the debtor. The terminated contract is clearly
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                                                                          not a material interest adverse to the estate.
                                                                      6
                                                                                                                             II.
                                                                      7

                                                                      8                                             CONCLUSION

                                                                      9          Wherefore based on the foregoing Debtor respectfully requests that the Application to
                                                                     10   employ the Firm be granted as there is no conflict of interest and the Firm is disinterested as
                                                                     11
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                                                                          defined in the bankruptcy code.
                                                                     12
                                                                                 Dated this 6th day of June 2018.
                                                                     13
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                                                                                                                           COHEN|JOHNSON|PARKER|EDWARDS
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                                                                     16                                          By:       _/s/ H. Stan Johnson____________________
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                                                                                                                           Charles (“CJ”) E. Barnabi Jr., Esq.
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